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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

CHRISTOPHER C. JOHNSON, Case No.: 3:23—cv—05615-TMC

Plaintiff, . .
JUDGE: Hon. Tiffany M. Cartwright

Vv.

LEXIS NEXIS RISK SOLUTIONS MOTION FOR DEFAULT JUDGMENT

AGAINST DEFENDANT LEXISNEXIS

Defendant. RISK SOLUTIONS

Nee ee ee ee ee Ne ee ee ee Se SS Se’ Se”

APPLICATION FOR ENTRY OF DEFAULT AND SUPPORTING AFFIDAVIT
COMES NOW the Plaintiff Christopher C. Johnson, requests the Clerk, pursuant to Fed.
R. Civ. P. 55(a), to enter default against Defendant LexisNexis Risk Solutions for failure to

plead, answer or otherwise defend as set forth in the Affidavit attached hereto.

Respectfully submitted,
Dated: September 09, 2023 By: s/ Christopher C Johnson Pro se
5613 121* Street Court E#1
Puyallup, WA 98373
206-331-2202
Cejay80@gmail.com
Case 3:23-cv-05615-TMC Document 13 Filed 09/09/23 Page 2 of 4

CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing document, using the electronic case
filing system of the Court and a copy of the foregoing was served upon all parties of record via
CM/ECF. I also mailed a copy to LEXISNEXIS RISK SOLUTIONS registered agent on file
with the Washington Secretary of State C T CORPORATION SYSTEM, 711 CAPITOL WAY S

STE 204, OLYMPIA, WA, 98501-1267, UNITED STATES.

Respectfully submitted,

Dated: September 09, 2023

s/ Christopher C. Johnson
Christopher C. Johnson Pro Se

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AGAINST DEFENDANT LEXISNEXIS

Defendant. RISK SOLUTIONS

Nee Nee Ne ee ee ee ee ee ee ee Se Ss Sa”

AFFIRMATION OF CHRISTOPHER C. JOHNSON

I, CHRISTOPHER C. JOHNSON affirm under penalty of perjury that the following statements
are true and correct to the best of my knowledge:

1. | am the Plaintiff in the above-entitled action, and I am familiar with the file, records, and
pleadings in this matter.

2. The Complaint in this action was filed by Plaintiff on July 13, 2023. Dkt. #5

3. The Summons in this action was issued on August 11, 2023. Dkt. #10

4. Defendant LexisNexis Risk Solutions was served copies of the Complaint and the Summons
on August 17, 2023 received by their registered agent on file with the Washington Secretary of

State C T CORPORATION SYSTEM, 711 CAPITOL WAY S STE 204, OLYMPIA, WA,
98501-1267, UNITED STATES.
Case 3:23-cv-05615-TMC Document 13 Filed 09/09/23 Page 4 of 4

5. The Complaint and the Summons were served on LexisNexis Risk Solutions at its registered
agent address pursuant to Fed. R. Civ. P. 4(c)(2). Dkt. #11

6. Defendant LEXISNEXIS RISK SOLUTIONS’S responsive pleading deadline was September
7th, 2023.

7. Defendant LEXISNEXIS RISK SOLUTIONS has not served its Answer or other responsive
pleading upon Plaintiff and has made no entry of appearance in this matter.

8. Defendant LEXISNEXIS RISK SOLUTIONS is not a minor, is competent, and is not a
member of the military on active service.

9. Plaintiff is entitled to an entry of Default against Defendant LEXIS NEXIS RISK
SOLUTIONS.

Respectfully submitted,

Dated: September 09, 2023, By: s/ Christopher C. Johnson
5613 121* Street Court E #1
Puyallup, WA 98373
(206) 331-2202
Cejay80@gmail.com
